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                                                                     EXHIBIT
                                                                          A
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STATE OF MAINE                                                        SUPERIOR COURT
CUMBERLAND, ss                                                        DOCKET NO. CV-20-235


LISA GOODMAN,                                        )
                                                     )
          Plaintiff,                                 )
                                                     )     CONSENTED-TO MOTION TO
 v.                                                  )   EXTEND TIME FOR DEFENDANT TO
                                                     )   ANSWER PLAINTIFF’S COMPLAINT
MIDCOAST SENIOR HEALTH,                              )
                                                     )
                   Defendant.                        )


       NOW COMES the Defendant, MidCoast Senior Health (“MidCoast” or “Defendant”),

and files this Motion for Extension of Time, and hereby moves the Court to extend the deadline

for Defendant to answer, move, or otherwise respond to Plaintiff’s Complaint.

       Plaintiff filed this action against Defendant in the Cumberland County Superior Court on

or about June 3, 2020. Defendant accepted service of the Summons and Complaint on August

27, 2020 by the signing of an Acceptance of Service. Defendant’s Answer is now due on

September 16, 2020.

       The parties have engaged in settlement discussions which they intend to continue. In

order to permit the parties to continue their settlement discussions with the goal of resolving the

case prior to motion practice and further litigation expense, Defendant requests that the deadline

for Defendant’s response to Plaintiff’s Complaint be extended by 14 days to September 30,

2020. This extension is for good cause and is not the result of any neglect, excusable or

otherwise, of any party to this case. In addition, no party will be prejudiced by this extension.

Plaintiff’s counsel also consents to this extension of time




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       WHEREFORE, the Defendant respectfully requests that the Court enter an order

enlarging the time for Defendant to answer, move, or otherwise respond to Plaintiff’s Complaint

to September 30, 2020. Plaintiff’s counsel consents to this Motion.

       Dated this 1st day of September, 2020.



                                             /s/ Tara A. Walker
                                             Tara A. Walker, Esq. (Bar No. 5099)
                                             BERNSTEIN SHUR
                                             100 Middle Street; PO Box 9729
                                             Portland ME 04104-5029
                                             207-774-1200
                                             twalker@bernsteinshur.com

                                             Attorney for Defendant
                                             Counsel for MidCoast Senior Health




                                            NOTICE

PURSUANT TO RULE 7(C) OF THE MAINE RULES OF CIVIL PROCEDURE, ANY
MATTER IN OPPOSITION TO THIS MOTION MUST BE FILED NOT LATER THAN
TWENTY-ONE (21) DAYS AFTER THE FILING OF THIS MOTION UNLESS
ANOTHER TIME IS PROVIDED BY THE RULES OR SET BY THE COURT. FAILURE
TO FILE TIMELY OPPOSITION TO THIS MOTION WILL BE DEEMED A WAIVER
OF ALL OBJECTIONS TO THIS MOTION, WHICH MAY BE GRANTED WITHOUT
FURTHER NOTICE OR HEARING.




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STATE OF MAINE                                                      SUPERIOR COURT
CUMBERLAND, ss                                                      DOCKET NO. CV-20-235


LISA GOODMAN,                                       )
                                                    )
          Plaintiff,                                )
                                                    )        (PROPOSED) ORDER ON
 v.                                                 )      CONSENTED-TO MOTION TO
                                                    )    EXTEND TIME FOR DEFENDANT TO
MIDCOAST SENIOR HEALTH,                             )    ANSWER PLAINTIFF’S COMPLAINT
                                                    )
                   Defendant.                       )
                                                    )


       Upon the Motion of Defendant, MidCoast Senior Health (“Defendant”), the Court

GRANTS Defendant’s Consented-to Motion for additional time to respond to Plaintiff’s

Complaint and extends the deadline accordingly to September 30, 2020. The clerk is instructed

to incorporate this Order by reference on the docket pursuant to M.R. Civ. P. 79(a).



Date: _____________________                             ____________________________________
                                                        Justice, Maine Superior Court




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